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      LUKE C. ZOUVAS (SBN 216154)
  1
      2907 SHELTER ISLAND DRIVE, SUITE 105
  2   SAN DIEGO, CA 92106
  3 (619) 300-6971
    LZOUVAS@ZOUVASLAW.COM
  4
  5 IN PRO PER
  6
  7
  8                      UNITED STATES DISTRICT COURT
                    SOUTHERN DISTRICT DISTRICT OF CALIFORNIA
  9
 10
    UNITED STATES SECURITIES              CASE NO. 16CV0998 CAB DHB
 11 AND EXCHANGE
 12 COMMISSION,                           [PROPOSED] OPINION AND ORDER

 13         Plaintiff,
 14            v.
 15 LUKE C. ZOUVAS, et al.
 16
        Defendants.
 17
 18         Defendant, Luke C. Zouvas, hereby answers the Complaint (“Complaint”) of
 19 Plaintiff, Securities and Exchange Commission (“Plaintiff”) as follows:
 20
                                     Introduction
 21
           1.     Answering Paragraph 1 of the Complaint, Defendant denies the
 22 allegations.
 23        2.     Answering Paragraph 2 of the Complaint, Defendant denies the
 24 allegations.
 25          3.    Answering Paragraph 3 of the Complaint, Defendant denies the
      allegations.
 26
 27 ///
 28 ///
                                        1
                         DEFENDANT’S ANSWER TO COMPLAINT
 32                                                            Case No. 15-cv-01039-H-JLB
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  1
                         Defendant and Related Entities and Individuals
  2
             4.    Answering Paragraph 4 of the Complaint, Defendant is without
  3
      knowledge sufficient to admit or deny the allegations, and therefore denies them.
  4
             5.     Answering Paragraph 5 of the Complaint, Defendant is without
  5
       knowledge sufficient to admit or deny the allegations, and therefore denies them.
  6
             6.     Answering Paragraph 6 of the Complaint, Defendant is without
  7
       knowledge sufficient to admit or deny the allegations, and therefore denies them.
  8
             7.     Answering Paragraph 7 of the Complaint, Defendant is without
  9
       knowledge sufficient to admit or deny the allegations, and therefore denies them.
 10
             8.     Answering Paragraph 8 of the Complaint, Defendant is without
 11
       knowledge sufficient to admit or deny the allegations, and therefore denies them.
 12
            9.     Answering Paragraph 9 of the Complaint, Defendant is without
 13
      knowledge sufficient to admit or deny the allegations, and therefore denies them.
 14
 15         10.    Answering Paragraph 10 of the Complaint, Defendant is without
 16 knowledge sufficient to admit or deny the allegations, and therefore denies them.
 17                               Jurisdiction and Venue
 18         11.    Answering Paragraph 11 of the Complaint, Defendant admits that the

 19   Court has subject matter jurisdiction over this matter.

 20          12.   Answering Paragraph 12 of the Complaint, Defendant admits that the

 21 Court has personal jurisdiction over him. Without waiving his right to assert that
 22 another venue is more appropriate, Defendant admits that this District is a proper
 23 venue.
 24          13.   Answering Paragraph 13 of the Complaint, Defendant denies the

 25 allegations.
 26 ///
 27 ///
    ///
 28 ///
                                        2
                         DEFENDANT’S ANSWER TO COMPLAINT
 32                                                               Case No. 15-cv-01039-H-JLB
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  1                                     Factual Background

  2           14.   Answering Paragraph 14 of the Complaint, Defendant is
      without knowledge sufficient to admit or deny the allegations, and therefore denies
  3
      them.
  4
              15.   Answering Paragraph 15 of the Complaint, Defendant is without
  5
      knowledge sufficient to admit or deny the allegations, and therefore denies them.
  6
              16.   Answering Paragraph 16 of the Complaint, Defendant is without
  7
      knowledge sufficient to admit or deny the allegations, and therefore denies them.
  8
              17.   Answering Paragraph 17 of the Complaint, Defendant is without
  9
      knowledge sufficient to admit or deny the allegations, and therefore denies them.
 10
              18.   Answering Paragraph 18 of the Complaint, Defendant is without
 11
      knowledge sufficient to admit or deny the allegations, and therefore denies them.
 12
             19. Answering Paragraph 19 of the Complaint, Defendant denies the
 13
      allegations.
 14
              20.   Answering Paragraph 20 of the Complaint, Defendant is without
 15
      knowledge sufficient to admit or deny the allegations, and therefore denies them.
 16
              21.   Answering Paragraph 21 of the Complaint, Defendant is without
 17
      knowledge sufficient to admit or deny the allegations, and therefore denies them.
 18
              22.   Answering Paragraph 22 of the Complaint, Defendant is without
 19
      knowledge sufficient to admit or deny the allegations, and therefore denies them.
 20
              23.   Answering Paragraph 23 of the Complaint, Defendant is without
 21
      knowledge sufficient to admit or deny the allegations, and therefore denies them.
 22
           24. Answering Paragraph 24 of the Complaint, Defendant denies the
 23 allegations.
 24           25.   Answering Paragraph 25 of the Complaint, Defendant is
 25 without knowledge sufficient to admit or deny the allegations, and therefore denies
 26 them.
 27           26.   Answering Paragraph 26 of the Complaint, Defendant is without
 28 knowledge sufficient to admit or deny the allegations, and therefore denies them.
                                              3
                      DEFENDANT’S ANSWER TO COMPLAINT
 32                                                               Case No. 15-cv-01039-H-JLB
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  1         27.    Answering Paragraph 27 of the Complaint, Defendant is without

  2   knowledge sufficient to admit or deny the allegations, and therefore denies them.

  3         28.    Answering Paragraph 28 of the Complaint, Defendant is without

  4   knowledge sufficient to admit or deny the allegations, and therefore denies them.

  5         29.    Answering Paragraph 29 of the Complaint, Defendant is without

  6   knowledge sufficient to admit or deny the allegations, and therefore denies them.

  7         30.    Answering Paragraph 30 of the Complaint, Defendant is without
      knowledge sufficient to admit or deny the allegations, and therefore denies them.
  8
            31.    Answering Paragraph 31 of the Complaint, Defendant is without
  9
      knowledge sufficient to admit or deny the allegations, and therefore denies them.
 10
            32.    Answering Paragraph 32 of the Complaint, Defendant is without
 11
      knowledge sufficient to admit or deny the allegations, and therefore denies them.
 12
            33.    Answering Paragraph 33 of the Complaint, Defendant is without
 13
      knowledge sufficient to admit or deny the allegations, and therefore denies them.
 14
            34.    Answering Paragraph 34 of the Complaint, Defendant is without
 15
      knowledge sufficient to admit or deny the allegations, and therefore denies them.
 16
            35.    Answering Paragraph 35 of the Complaint, Defendant is without
 17
      knowledge sufficient to admit or deny the allegations, and therefore denies them.
 18
             36. Answering Paragraph 36 of the Complaint, Defendant denies the
 19
      allegations.
 20
            37.    Answering Paragraph 37 of the Complaint, Defendant is without
 21
      knowledge sufficient to admit or deny the allegations, and therefore denies them.
 22
           38. Answering Paragraph 38 of the Complaint, Defendant denies the
 23 allegations.
 24         39.    Answering Paragraph 39 of the Complaint, Defendant is without
 25   knowledge sufficient to admit or deny the allegations, and therefore denies them.
 26          40. Answering Paragraph 40 of the Complaint, Defendant denies the
      allegations.
 27
             41. Answering Paragraph 41 of the Complaint, Defendant denies the
 28
      allegations.
                                             4
                      DEFENDANT’S ANSWER TO COMPLAINT
 32                                                               Case No. 15-cv-01039-H-JLB
Case 3:16-cv-00998-CAB-DHB Document 41 Filed 12/09/16 PageID.525 Page 5 of 12




  1         42.      Answering Paragraph 42 of the Complaint, Defendant denies the
  2   allegations in the first and second sentences. Defendant is without knowledge
  3   sufficient to admit or deny the allegations, and therefore denies them.
  4         43.      Answering Paragraph 43 of the Complaint, Defendant is without
  5   knowledge sufficient to admit or deny the allegations, and therefore denies them.
  6         44.      Answering Paragraph 44 of the Complaint, Defendant is without
  7   knowledge sufficient to admit or deny the allegations, and therefore denies them.
  8         45.      Answering Paragraph 45 of the Complaint, Defendant is without
  9 knowledge sufficient to admit or deny the allegations, and therefore denies them.
 10
            46.      Answering Paragraph 46 of the Complaint, Defendant is without
 11
      knowledge sufficient to admit or deny the allegations, and therefore denies them.
 12
            47.      Answering Paragraph 47 of the Complaint, Defendant is without
 13
      knowledge sufficient to admit or deny the allegations, and therefore denies them.
 14
            48.      Answering Paragraph 48 of the Complaint, Defendant is without
 15
      knowledge sufficient to admit or deny the allegations, and therefore denies them.
 16
            49.      Answering Paragraph 49 of the Complaint, Defendant is without
 17   knowledge sufficient to admit or deny the allegations, and therefore denies them.
 18         50.      Answering Paragraph 50 of the Complaint, Defendant denies the
 19   allegations.
 20
            51. Answering Paragraph 51 of the Complaint, Defendant denies the
 21         allegations.
 22         52. Answering Paragraph 52 of the Complaint, Defendant denies the
 23         allegations.
 24         53. Answering Paragraph 53 of the Complaint, Defendant denies the
            allegations.
 25
            54. Answering Paragraph 54 of the Complaint, Defendant denies the
 26         allegations.
 27         55.      Answering Paragraph 55 of the Complaint, Defendant is without
 28   knowledge sufficient to admit or deny the allegations, and therefore denies them.
                                                5
                        DEFENDANT’S ANSWER TO COMPLAINT
 32                                                                Case No. 15-cv-01039-H-JLB
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  1          56.     Answering Paragraph 56 of the Complaint, Defendant is without

  2   knowledge sufficient to admit or deny the allegations, and therefore denies them.

  3 ///
  4          57. Answering Paragraph 57 of the Complaint, Defendant denies the
      allegations.
  5
             58.     Answering Paragraph 58 of the Complaint, Defendant is without
  6
      knowledge sufficient to admit or deny the allegations, and therefore denies them.
  7
             59.     Answering Paragraph 59 of the Complaint, Defendant denies them.
  8
             60.     Answering Paragraph 60 of the Complaint, Defendant is without
  9
      knowledge sufficient to admit or deny the allegations, and therefore denies them.
 10
             61.     Answering Paragraph 61 of the Complaint, Defendant is without
 11
      knowledge sufficient to admit or deny the allegations, and therefore denies them.
 12
             62.     Answering Paragraph 62 of the Complaint, Defendant is without
 13
      knowledge sufficient to admit or deny the allegations, and therefore denies them.
 14
             63.     Answering Paragraph 63 of the Complaint, Defendant is without
 15
      knowledge sufficient to admit or deny the allegations, and therefore denies them.
 16
             64.     Answering Paragraph 64 of the Complaint, Defendant is without
 17
      knowledge sufficient to admit or deny the allegations, and therefore denies them.
 18
             65.     Answering Paragraph 65 of the Complaint, Defendant is without
 19
      knowledge sufficient to admit or deny the allegations, and therefore denies them.
 20
             66.     Answering Paragraph 66 of the Complaint, Defendant denies the
 21
      allegations.
 22
 23          67.     Answering Paragraph 67 of the Complaint, Defendant is without
 24   knowledge sufficient to admit or deny the allegations, and therefore denies them.
 25          68.     Answering Paragraph 68 of the Complaint, Defendant is without
 26 knowledge sufficient to admit or deny the allegations, and therefore denies them.
 27
 28
                                          6
                           DEFENDANT’S ANSWER TO COMPLAINT
 32                                                               Case No. 15-cv-01039-H-JLB
Case 3:16-cv-00998-CAB-DHB Document 41 Filed 12/09/16 PageID.527 Page 7 of 12




  1          69.     Answering Paragraph 69 of the Complaint, Defendant is

  2 without knowledge sufficient to admit or deny the allegations, and therefore denies
  3 them.
  4          70.     Answering Paragraph 70 of the Complaint, Defendant is without
      knowledge sufficient to admit or deny the allegations, and therefore denies them.
  5
  6          71.     Answering Paragraph 71 of the Complaint, Defendant is without
  7   knowledge sufficient to admit or deny the allegations, and therefore denies them.
  8          72.     Answering Paragraph 72 of the Complaint, Defendant is without
  9   knowledge sufficient to admit or deny the allegations, and therefore denies them.
 10          73.     Answering Paragraph 73 of the Complaint, Defendant is without
 11 knowledge sufficient to admit or deny the allegations, and therefore denies them.
 12          74.     Answering Paragraph 74 of the Complaint, Defendant is without
 13 knowledge sufficient to admit or deny the allegations, and therefore denies them.
 14
             75.     Answering Paragraph 75 of the Complaint, Defendant is without
 15   knowledge sufficient to admit or deny the allegations, and therefore denies them.
 16
                                           Count 1
 17         76.      Answering Paragraph 76 of the Complaint, to the extent any
 18   response is required, Defendant denies the allegations.
 19
             77.     Answering Paragraph 77 of the Complaint, Defendant denies the
 20
      allegations.
 21
 22          78.     Answering Paragraph 78 of the Complaint, Defendant denies the
 23 allegations.
 24                                          Count 2
 25   79.    Answering Paragraph 79 of the Complaint, to the extent any response is
 26   required, Defendant denies the allegations.
 27
 28
                                          7
                           DEFENDANT’S ANSWER TO COMPLAINT
 32                                                               Case No. 15-cv-01039-H-JLB
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  1         80.    Answering Paragraph 80 of the Complaint, Defendant denies the

  2 allegations.
  3         81.    Answering Paragraph 81 of the Complaint, Defendant denies the
  4 allegations.
  5                                           Count 3
  6   82.   Answering Paragraph 82 of the Complaint, to the extent any response is
  7   required, Defendant denies the allegations.
  8
  9         83.    Answering Paragraph 83 of the Complaint, Defendant denies the

 10 allegations.
 11         84.    Answering Paragraph 84 of the Complaint, Defendant denies the
 12 allegations.
 13                                           Count 4
 14         85.    Answering Paragraph 85 of the Complaint, to the extent any
 15   response is required, Defendant denies the allegations.
 16
 17         86.    Answering Paragraph 86 of the Complaint, Defendant denies the

 18 allegations.
 19         87.    Answering Paragraph 87 of the Complaint, Defendant denies the
 20 allegations.
 21
 22                                        Relief Requested

 23
            88.    Defendant denies that Plaintiff is entitled to the relief sought.
 24
                                    AFFIRMATIVE DEFENSES
 25
            Defendant sets forth below his affirmative defenses. By setting forth
 26
      these affirmative defenses, Defendant does not assume the burden of proving any
 27
      fact, issue, or element of a cause of action where such burden properly belongs to
 28
                                        8
                         DEFENDANT’S ANSWER TO COMPLAINT
 32                                                                 Case No. 15-cv-01039-H-JLB
Case 3:16-cv-00998-CAB-DHB Document 41 Filed 12/09/16 PageID.529 Page 9 of 12




  1   Plaintiff. Moreover, nothing stated herein is intended or shall be construed as an

  2   acknowledgement that any particular issue or subject matter necessarily is relevant

  3   to Plaintiff’s allegations.

  4                                 First Affirmative Defense
             Plaintiff’s claims are barred, in whole or in part, because Defendant relied
  5
      upon the representations of his clients and third parties. Defendant had no reason to
  6
      believe any representations made by client’s at the time were anything other than
  7
      factual representations upon which Defendant relied upon.
  8
                                        Second Affirmative Defense
  9
             To the extent Plaintiff’s claims arise from events that allegedly occurred
 10
      prior to April 25, 2011, Plaintiff’s claims are barred by limitations. Specifically,
 11
      Plaintiff alleges certain facts occurred in 2010, and then alleges that Defendant
 12
      violated the securities laws from “no later than December 2011 through at least
 13
      December 2012.”
 14
 15
 16
 17                                             PRAYER

 18          WHEREFORE, Defendants pray for judgment as follows:
 19
             1.     That Plaintiff takes nothing by way of the Complaint;
 20
 21          2.     That the Complaint be dismissed with prejudice and judgment
 22   entered in favor of Defendant;
 23          3.     That Defendant be awarded his costs, disbursements and attorneys’
 24          fees in this action; and
 25
             4.     For such other and further relief as this Court deems just and proper.
 26
 27
 28
                                          9
                           DEFENDANT’S ANSWER TO COMPLAINT
 32                                                                  Case No. 15-cv-01039-H-JLB
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  1 DATED: December 5, 2016          LUKE C. ZOUVAS

  2
                                            By /s/ Luke C. Zouvas
  3
                                             Luke C. Zouvas
  4                                          In Pro Per
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                                      10
                       DEFENDANT’S ANSWER TO COMPLAINT
  32                                                       Case No. 15-cv-01039-H-JLB
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                               PROOF OF SERVICE
                   STATE OF CALIFORNIA, COUNTY OF SAN DIEGO
                         FEDERAL RULE CIVIL PROCEDURE 5(b)
         I, the undersigned, hereby certify that I am a citizen of the United States and over
      the age of eighteen; I work in the County of San Diego, California, in which County
      the within mailing took place; and I am not a party to the subject case. My business
      address is 2907 Shelter Island Dr., Ste 105
         I am familiar with the practice of this law firm for the collection and processing of
      documents for mailing with the United States Postal Service, that the documents
      would be deposited with the United States Postal Service that same day in the ordinary
      course of business.
         On December 9, 2016, I placed the within document(s) described as:

                   REPLY TO OPPOSITION TO MOTION TO DISMISS

             BY MAIL: I am “readily familiar” with the firm's practice of collecting and
      processing correspondence for mailing. Under that practice it would be deposited with
      the U.S. postal service on that same day with postage thereon full prepaid at San
      Diego, California, in the ordinary course of business. I am aware that on motion of the
      party served, service is presumed invalid if postal cancellation date or postage meter
      date is more than one day after date of deposit for mailing in affidavit.
            VIA FACSIMILE TRANSMISSION: I caused the above-described
      document(s) to be transmitted to the offices of the interested parties at the facsimile
      number(s) indicated on the attached Service List and the activity report(s) generated
      by facsimile number indicated all pages were transmitted.
            BY ELECTRONIC FILING AND/OR SERVICE: I caused the above-
      described document(s) to be to be electronically served on designated recipients listed
      on the attached Service List through the Court's electronic filing system.
             BY FEDERAL EXPRESS: I served such envelope or package to be delivered
      by FedEx Overnight service in an envelope or package designated by the FedEx
      carrier.
            BY PERSONAL SERVICE: I caused such envelope(s) to be delivered by
      hand to the office(s) of the addressee(s).
             BY ELECTRONIC MAIL: I personally emailed this document to the offices of
      the interested parties indicated on the attached Service List.
      Executed on December 9, 2016, at San Diego, California 92101.

                                                           /s/ Luke C. Zouvas
                                                          ________________________
                                                          LUKE C. ZOUVAS
                                             1
                                      PROOF OF SERVICE
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                                       SERVICE LIST

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      Jorgenson




                                            2
                                     PROOF OF SERVICE
